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                                  EXHIBIT A

                                 Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 15

NEXII BUILDING SOLUTIONS INC., et al., 1                           Case No. 24-10026

                    Debtors in a Foreign Proceeding.               (Joint Administration Requested)


      ORDER GRANTING PETITION FOR (I) RECOGNITION AS FOREIGN MAIN
    PROCEEDINGS, (II) RECOGNITION OF FOREIGN REPRESENTATIVE, AND (III)
       RELATED RELIEF UNDER CHAPTER 15 OF THE BANKRUPTCY CODE
         Upon consideration of the Verified Petition for (I) Recognition of Foreign Main

Proceedings, (II) Recognition of Foreign Representative, and (III) Related Relief under

Chapter 15 of the Bankruptcy Code (together with the form petitions filed concurrently therewith,

the “Verified Petition”), 2 filed by the Foreign Representative as the “foreign representative”

of the above-captioned debtors (collectively, the “Debtors”); and upon the hearing on the

Verified Petition and this Court’s review and consideration of the Verified Petition, the Tucker

Declaration, and the Jackson Declaration; IT IS HEREBY FOUND AND DETERMINED

THAT 3:

         1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for



1        The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each
         Debtor’s unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP
         Inc. (9930), and Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15
         Cases is 1455 West Georgia Street, #200, Vancouver, British Columbia V6G 2T3.
2        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
         the Verified Petition.
3        The findings and conclusions set forth herein and in the record of the hearing on the Verified Petition
         constitute this Court’s findings of fact and conclusions of law pursuant to Rule 52 of the Federal Rules of
         Civil Procedure, as made applicable herein by Rules 7052 and 9014 of the Federal Rules of
         Bankruptcy Procedure (the “Bankruptcy Rules”). To the extent any of the findings of fact herein constitute
         conclusions of law, they are adopted as such. To the extent any of the conclusions of law herein constitute
         findings of fact, they are adopted as such.


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the District of Delaware, dated February 29, 2012.

         2.    Venue is proper before this Court pursuant to 28 U.S.C. § 1410. This is a core

proceeding pursuant to 28 U.S.C. § 157(b) and this Court may enter a final order consistent with

Article III of the United States Constitution.

         3.    Appropriate notice of the filing of, and the Hearing on, the Verified Petition was

given, which notice is deemed adequate for all purposes, and no other or further notice need be

given.

         4.    No objections or other responses were filed that have not been overruled,

withdrawn, or otherwise resolved.

         5.    These Chapter 15 Cases were properly commenced pursuant to sections 1504,

1509, and 1515 of the Bankruptcy Code.

         6.    The Debtors have a domicile, principal place of business, and/or property in the

United States, and the Debtors are each eligible to be a debtor in a chapter 15 case pursuant to, as

applicable, 11 U.S.C. §§ 109 and 1501.

         7.    The Foreign Representative is a “person” pursuant to section 101(41) of the

Bankruptcy Code and is the duly appointed “foreign representative” of the Debtors as such term

is defined in section 101(24) of the Bankruptcy Code. The Foreign Representative has satisfied

the requirements of section 1515 of the Bankruptcy Code and Bankruptcy Rule 1007(a)(4).

         8.    The CCAA Proceedings are entitled to recognition by this Court pursuant to section

1517 of the Bankruptcy Code.

         9.    The CCAA Proceedings are pending in Canada, where the Debtors have the “center

of [their] main interests” as referred to in section 1517(b)(1) of the Bankruptcy Code. Accordingly,

the CCAA Proceedings are “foreign main proceedings” pursuant to section 1502(4) of the




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Bankruptcy Code, and are entitled to recognition as foreign main proceedings pursuant to section

1517(b)(1) of the Bankruptcy Code.

        10.     The Foreign Representative is entitled to all the relief provided pursuant to sections

1507, 1519, 1520, and 1521(a)(4) and (5) of the Bankruptcy Code without limitation, because

those protections are necessary to effectuate the purposes of chapter 15 of the Bankruptcy Code

and to protect the assets of the Debtors and the interests of the Debtors’ creditors.

        11.     Good, sufficient, appropriate, and timely notice of the filing of, and the hearing on

(to the extent necessary), the Verified Petition was given, which notice was deemed adequate for

all purposes, and no further notice need be given.

        12.     All creditors and other parties in interest, including the Debtors, are sufficiently

protected by the grant of relief ordered hereby in accordance with section 1522(a) of the

Bankruptcy Code.

        13.     The relief granted hereby is necessary to effectuate the purposes and objectives of

chapter 15 and to protect the Debtors and their interests of its creditors and other parties in interest,

is in the interest of the public and international comity, consistent with the public policy of the

United States, and will not cause any hardship to any party in interest that is not outweighed by

the benefits of the relief granted. Absent the requested relief, the efforts of the Debtors and the

Foreign Representative in conducting the CCAA Proceedings and the Sale Process may be

frustrated by the actions of individual creditors, a result contrary to the purposes of chapter

15.

BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE
DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFORE, IT IS
HEREBY ORDERED THAT:

        14.     The Verified Petition is granted.




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       15.       The CCAA Proceedings are recognized as foreign main proceedings pursuant to

section 1517 of the Bankruptcy Code and are entitled to the protections of 11 U.S.C. § 1520(a),

including, without limitation, the application of the protection afforded by the automatic stay under

11 U.S.C. § 362 to the Debtors and to the Debtors’ property that is within the territorial jurisdiction

of the United States.

       16.       Nexii Building Solutions, Inc. is the duly appointed foreign representative of the

Debtors within the meaning of 11 U.S.C. § 101(24), is authorized to act on behalf of the Debtors

in these Chapter 15 Cases, and is established as the exclusive representative of the Debtors in the

United States.

       17.       The Initial CCAA Order and the Amended and Restated Initial CCAA Order,

including any and all existing and future extensions, amendments, restatements, and/or

supplements authorized by the Canadian Court, are hereby given full force and effect, on a final

basis, with respect to the Debtors and the Debtors’ property that now or in the future is located

within the territorial jurisdiction of the United States, including, without limitation staying the

commencement or continuation of any actions against the Debtors or its assets (except as otherwise

expressly provided herein or therein).

       18.       All objections, if any, to the Verified Petition or the relief requested therein that

have not been withdrawn, waived, or settled by stipulation filed with the Court, and all reservations

of rights included therein, are hereby overruled on the merits.

       19.       Upon entry of this order (this “Order”), the CCAA Proceedings and all prior

orders of the Canadian Court shall be and hereby are granted comity and given full force and

effect in the United States and, among other things:

                 a.     the protections of sections 361, 362, and 365(e) of the Bankruptcy Code
                        apply to the Debtors;



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              b.       all persons and entities are enjoined from taking any actions inconsistent
                       with the CCAA Proceedings and the Sale Process, and from seizing,
                       attaching, and enforcing or executing liens or judgments against the
                       Debtors’ property in the United States or from transferring, encumbering
                       or otherwise disposing of or interfering with the Debtors’ assets or
                       agreements in the United States without the express consent of the Foreign
                       Representative;

              c.       all persons and entities are enjoined from commencing or continuing,
                       including the issuance or employment of process of, any judicial,
                       administrative or any other action or proceeding involving or against the
                       Debtors or their assets or proceeds thereof, or to recover a claim or enforce
                       any judicial, quasi-judicial, regulatory, administrative, or other judgment,
                       assessment, order, lien or arbitration award against the Debtors or their
                       assets or proceeds thereof;

              d.       all persons and entities are enjoined from commencing any suit, action, or
                       proceeding against the Debtors, the Foreign Representative, or any of their
                       respective successors, directors, officers, agents, employees,
                       representatives, advisors, or attorneys in respect of any claim or cause of
                       action, in law or in equity, arising out of or relating to any action taken or
                       omitted to be taken in connection with these Chapter 15 Cases, the CCAA
                       Proceedings, and the Sale Process; and

              e.       all persons and entities are enjoined from terminating or modifying an
                       executory contract or unexpired lease at any time after the commencement
                       of these Chapter 15 Cases solely because of a provision in such contract or
                       lease is conditioned upon the commencement of the CCAA Proceedings or
                       a case under the Bankruptcy Code.

       20.         The Foreign Representative and the Debtors shall be entitled to the full

protections and rights enumerated under section 1521(a)(4) and (5) of the Bankruptcy Code, and

accordingly, the Foreign Representative:

              a.       is entrusted with the administration or realization of all or part of the
                       Debtors’ assets located in the United States; and

              b.       has the right and power to examine witnesses, take evidence or deliver
                       information concerning the Debtors’ assets, affairs, rights, obligations, or
                       liabilities.

       21.    All parties who believe they have a claim against any of the Debtors are obligated

to file such claim in, and only in, the CCAA Proceedings.




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        22.    All prior relief granted by this Court pursuant to section 1519(a) of the Bankruptcy

Code shall be extended, and that certain Order Granting Provisional Relief Pursuant to Section

1519 of the Bankruptcy Code [Docket No.         ] (the “Provisional Relief Order”) shall remain in

full force and effect. To the extent there is any inconsistency between this Order and the

Provisional Relief Order, the language in this Order shall control.

        23.    The Foreign Representative is hereby established as the representative of the

Debtors with full authority to administer the Debtors’ assets and affairs in the United States,

including, without limitation, making payments on account of the Debtors’ prepetition and

postpetition obligations.

        24.    The Foreign Representative, the Debtors, and their respective agents are authorized

to serve or provide any notices required under the Bankruptcy Rules or Local Rules of this Court.

        25.    No action taken by the Foreign Representative, the Debtors, or their respective

successors, agents, representatives, advisors, or counsel in preparing, disseminating, applying for,

implementing, or otherwise acting in furtherance of or in connection with the CCAA Proceedings,

this Order, these Chapter 15 Cases, or any adversary proceeding herein, or contested matters in

connection therewith, will be deemed to constitute a waiver of any immunity afforded the Foreign

Representative, including without limitation pursuant to sections 306 or 1510 of the Bankruptcy

Code.

        26.    The banks and financial institutions with which the Debtors maintain bank accounts

or on which checks are drawn or electronic payment requests made in payment of prepetition or

postpetition obligations are authorized and directed to continue to service and administer the

Debtors’ bank accounts without interruption and in the ordinary course and to receive, process,

honor and pay any and all such checks, drafts, wires and automatic clearing house transfers issued,




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whether before or after the Petition Date and drawn on the Debtors’ bank accounts by respective

holders and makers thereof and at the direction of the Foreign Representative or the Debtors, as

the case may be.

       27.       The Foreign Representative is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order.

       28.       The Foreign Representative, the Debtors, and their respective agents are authorized

to serve or provide any notices required under the Bankruptcy Rules or Local Rules of this Court.

       29.         This Order is without prejudice to the Foreign Representative requesting any

additional relief in the Chapter 15 Cases, including seeking recognition and enforcement by this

Court of any further orders issued in the CCAA Proceedings.

       30.         The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       31.         A copy of this Order shall be served within five business days of entry of this

order, by electronic mail to the extent email addresses are available and otherwise by U.S. mail,

overnight or first-class postage prepaid, upon the Core Notice Parties (as defined in the Motion for

Order Scheduling Recognition Hearing and Specifying Form and Manner of Service of Notice)

and such other entities as the Court may direct. Such service shall be good and sufficient

service and adequate notice for all purposes.

       32.         This Court shall retain jurisdiction with respect to the enforcement, amendment,

or modification of this Order, any requests for additional relief or any adversary proceeding

brought in and through these Chapter 15 Cases, and any request by an entity for relief from the

provisions of this Order, for cause shown, that is properly commenced and within the jurisdiction

of this Court.




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       33.        Notwithstanding any applicability of any Bankruptcy Rules, the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry and shall

constitute a final order within the meaning of 28 U.S.C. § 158(a).

       34.        This Order applies to all parties in interest in these Chapter 15 Cases and all of

their agents, employees, and representatives, and all those who act in concert with them who

receive notice of this Order.

  Dated:     Wilmington, Delaware
                             , 2024                  UNITED STATES BANKRUPTCY JUDGE




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